 

Case 1:18-cv-00068 Document 597 Filed on 12/06/21 in TXSD Page 1 of 4

United States Court of Appeals

FIFTH CIRCUIT
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December 06, 2021

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U.S. Department of Justice Southern District of Texas
Civil Division, Appellate Section FILED

950 Pennsylvania Avenue, N.W.

Washington, DC 20530 December 06, 2021

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No. 21-40680 State of Texas v. USA
USDC No. 1:18-CV-68

Dear Counsel,

Attached is a revised case caption, which should be used on all
future filings in this case.

Sincerely,

LYLE W. CAYCE, Clerk
By:
Christina A. Gardner, Deputy Clerk
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Case No. 21-40680

State of Texas; State of Alabama; State of Arkansas; State of
Louisiana; State of Nebraska; State of South Carolina; State of
West Virginia; State of Kansas; State of Mississippi,

Plaintiffs - Appellees
V.

United States of America; Alejandro Mayorkas, Secretary, U.S.
Department of Homeland Security; Troy Miller, Acting
Commissioner, U.S. Customs and Border Protection; Tae D.
Johnson, Acting Director of U.S. Immigration and Customs
Enforcement; Ur M. Jaddou, Director of U.S. Citizenship and
Immigration Services,

Defendants - Appellants

Elizabeth Diaz; Jose Magana-Salgado; Karina Ruiz De Diaz; Jin
Park; Denise Romero; Angel Silva; Moses Kamau Chege; Hyo-Won
Jeon; Blanca Gonzalez; Maria Rocha; Maria Diaz; Elly Marisol
Estrada; Darwin Velasquez; Oscar Alvarez; Luis A. Rafael; Nanci
J. Palacios Godinez; Jung Woo Kim; Carlos Aguilar Gonzalez;
State of New Jersey,

Intervenor Defendants - Appellants
